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                       IN THE UNITED STATES DISTRICT COURT FOR
                        THE WESTERN DISTRICT OF PENNSYLVANIA

 RENEE ZINSKY,                                         Civil Action No. 2:22-cv-00547-MJH

                Plaintiff,                             The Honorable Marilyn J. Horan

 vs.

 MICHAEL RUSSIN, RUSSIN
 FINANCIAL, RUSSIN GROUP, SIMON
 ARIAS, III, ARIAS AGENCIES, S.A.
 ARIAS HOLDINGS, LLC, AMERICAN
 INCOME LIFE INSURANCE COMPANY,                        ELECTRONICALLY FILED

                Defendants.



               DECLARATION OF DEBRA GAMBLE IN SUPPORT OF
               AMERICAN INCOME LIFE INSURANCE COMPANY’S
             MOTION TO COMPEL ARBITRATION AND STAY THE CASE

       DEBRA GAMBLE, under the pains and penalties of perjury, state:

       1.      I am the Senior Vice President of Agency for Defendant American Income Life

Insurance Company (“AIL”). I have worked for AIL for over 40 years. As part of my job

responsibilities, I oversee AIL’s onboarding process when new or existing independent sales

agents enter into contracts with the company. I am personally familiar with the records

maintained by AIL relating to the agents with whom the company contracts, including agent

contracts and records relating to payments made to agents. In preparing this declaration, I have

reviewed the agent file, created and maintained by AIL in the usual course of business, relating

to Renee Zinsky, the plaintiff in this lawsuit. I have personal knowledge of the matters set forth

herein or have acquired the knowledge by reviewing and analyzing the business records kept by

AIL in the usual course of business. If called as a witness, I could and would testify competently

thereto, under oath.

       2.      AIL is an international life insurance company headquartered in Waco, Texas that

provides life, accident, and supplemental health insurance products to families and individuals.

AIL insures families and individuals in many states.
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       3.      AIL contracts with independent contractor sales agents in a tiered system: the

highest-level agent contract is a state general agent (“SGA”); with lower tiers such as a regional

general agent (“RGA”) or a master general agent (“MGA”); and finally, a basic sales agent. All

sales agents at every tier are independent contractors. Sales agents are usually affiliated with a

particular SGA, but AIL does not control with whom sales agents choose to affiliate. When a

sales agent opts to be affiliated with a particular SGA, it is reflected in the agent’s contract.

       4.      In the usual course of its business, AIL maintains a file for the independent sales

agents who contract with the company. An agent’s file includes, among other things, the agent’s

application to sell AIL insurance and a copy of the agent contract entered into between AIL and
the agent. The application and the agent contract are transmitted to AIL by the office of the SGA

with whom the sales agent is affiliated.

       5.      I have reviewed the agent files that AIL maintains in the usual course of business

relating to Plaintiff Renee Zinsky, who contracted to sell AIL insurance to prospective customers

in Pennsylvania. The file and the records in it were created in the usual course of AIL’s business

and are maintained in the usual course of AIL’s business.

       6.      Ms. Zinsky signed by hand her most recent and operative sales agent contract

(“Agent Contract”) with AIL on August 20, 2021. Attached hereto as Exhibit 1 is a true and

correct copy of Ms. Zinsky’s operative Agent Contract, which sets forth the nature and terms of

Ms. Zinsky’s independent contractor relationship with AIL. The Agent Contract contains an

arbitration provision, under the capitalized and bolded heading “ARBITRATION,” that requires

both Ms. Zinsky and AIL to arbitrate any disputes through binding individual arbitration.

       7.      As reflected in Exhibit 1, Ms. Zinsky’s Agent Contract was countersigned by

AIL on August 31, 2021 and became effective on that date.

       8.      Agent contracts and termination letters like those at issue are generated in Texas,

sent between other states and Texas, and electronically stored in agent files in AIL’s home

offices in Texas. In accordance with AIL policy, insurance applications from out-of-state

customers are sent to Texas. Policy underwriting is done in Texas, and policies are issued in



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